     Case 25-11354-JNP           Doc 195 Filed 04/24/25 Entered 04/24/25 08:52:35                      Desc Ntc
                                      of Hrg - General Page 1 of 1
Form 173 − hrggeneral

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                          Case No.: 25−11354−JNP
                                          Chapter: 11
                                          Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Daryl Fred Heller
   909 Greenside Drive
   Lititz, PA 17543
Social Security No.:
   xxx−xx−1231
Employer's Tax I.D. No.:


                                              NOTICE OF HEARING

      NOTICE IS HEREBY GIVEN that a hearing in said cause shall be held before the Honorable Jerrold N.
Poslusny Jr. on

Date:              May 20, 2025
Time:               11:00 AM
Location:     4th Floor Courtroom 4C, Mitchell H. Cohen Courthouse, 1 John F. Gerry Plaza, 400 Cooper Street,
Camden, NJ 08101−2067

to consider and act upon the following:

194 − Objection to Debtor's Application for Retention of Professional (related document:139 Application For
Retention of Professional McCarter & English, LLP as Attorney Filed by Sari Blair Placona on behalf of Daryl Fred
Heller. Objection deadline is 3/28/2025. (Attachments: # 1 Certification # 2 Proposed Order) filed by Debtor Daryl
Fred Heller) filed by Jeffrey M. Sponder on behalf of U.S. Trustee. (Sponder, Jeffrey)

and transact such other business as may properly come before the meeting.




Dated: April 24, 2025
JAN: kvr

                                                                    Jeanne Naughton
                                                                    Clerk
